✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                  DISTRICT OF                                      VIRGINIA



               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                    ADRIAN JOSE ROMERO                                                                                 Case Number: 1:19CR00011-001

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
  James P. Jones, USDJ                                              Suzanne Kerney-Quillen                                    Helen E. Phillips
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 10/30/2019 Sentencing                                              Donna Prather, OCR                                        Lottie Lunsford
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                 10/30/2019           Yes           Yes         Certificate of Analysis Report

   2                 10/30/2019           Yes           Yes         Certificate of Analysis Report




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages

         Case 1:19-cr-00011-JPJ-PMS Document 110 Filed 10/30/19 Page 1 of 1 Pageid#: 340
